150 U.S. 90
    14 S.Ct. 26
    37 L.Ed. 1010
    SCHUYLER NAT. BANKv.BOLLONG. Three Cases.
    Nos. 38, 39, and 317.
    October 30, 1893.
    
      Wm. Twombly and J. G. Bigelow, for plaintiff in error.
      C. J. Phelps and Clifton O. Sabin, for defendant in error.
      Mr. Chief Justice FULLER.
    
    
      1
      These cases were submitted at the same time with Bank v. Bollong, 14 Sup. Ct. Rep. 24, (just decided,) and must be disposed of in the same way. Writs of error dismissed.
    
    